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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                    CASE NO. 22-CR-20114-KMW

   UNITED STATES OF AMERICA

   v.

   CARLOS RAMON POLIT FAGGIONI,

         Defendant.
   ________________________________________/

             THE UNITED STATES OF AMERICA’S SENTENCING MEMORANDUM


          The United States of America submits this memorandum for the Court’s consideration in

   determining an appropriate sentence for the defendant, Carlos Ramon Polit Faggioni. A jury

   convicted the defendant of a nearly decade-long conspiracy to launder millions of dollars in bribes

   he solicited and received as the Comptroller General in Ecuador. Despite his sophisticated

   education and Ecuadorian law degree, and despite the fact that it was the defendant’s job to prevent

   corruption and protect the public fisc of Ecuador, the defendant abused his powerful political

   position to obtain over $16 million in bribes and launder those bribes into South Florida with the

   help of his son and others.

          Based on the relevant conduct at issue, the U.S. Sentencing Commission Guidelines

   (“Guidelines”) calculation for the defendant, as set out below, and the sentencing factors

   articulated in 18 U.S.C. § 3553(a), the government submits that a Guidelines sentence of

   235 months’ incarceration is appropriate. There are no factors warranting a below-Guidelines

   sentence for the defendant, who used his professional and social status to extract millions of dollars

   in bribes. Accordingly, the government recommends that the Court impose: (1) a sentence of

   235 months’ imprisonment, based upon a loss amount of more than $9.5 million under the



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   Sentencing Guidelines; (2) a three-year period of supervised release including a prohibition from

   serving in an government position, and (3) an order of forfeiture in the form of a money judgment

   in an amount to be determined by the Court, but at least $16,500,000.

   I.     SECTION 3553(A) FACTORS

          While the Guidelines are purely advisory, the Court “must consult those Guidelines” and

   the factors set forth in 18 U.S.C. § 3553(a) when determining the appropriate sentence. United

   States v. Booker, 543 U.S. 220, 264 (2005). The need for the sentence to reflect the seriousness of

   the offense, promote respect for the law, provide just punishment and adequate deterrence, and

   protect the public, counsel for imposing Guidelines sentences. See 18 U.S.C. § 3553(a)(2). As set

   forth below, the Section 3553(a) factors weigh in favor of a sentence within the Guidelines.

          A.      Nature and Circumstances of the Offense and the History and Characteristics of
                  the Defendant

          The Court should impose a significant sentence given the nature and circumstances of the

   offense. The defendant served as comptroller general of Ecuador from 2007 to 2017. In this

   position, defendant oversaw over 2,000 employees and had responsibility to monitor the use of

   Ecuador’s government resources. The duties of the Comptroller and his office included protecting

   public funds against fraud and rooting out corruption. The comptroller general had the power to

   audit any government entity or contract, to impose fines, and to recommend persons for criminal

   prosecution. As multiple witnesses testified, the defendant was one of the most powerful people

   in Ecuador. The defendant abused his position over a nearly decade-long period to obtain massive

   bribes and to launder those bribes into South Florida with the help of his son and others.

           The history and characteristics of the defendant also militate for a significant sentence.

   The defendant attended law school in Ecuador in 1990 and then obtained a master’s degree in

   constitutional law in 2009 in Ecuador. The defendant advised that he grew up with a “nice

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   childhood with no traumatic events” and that his “family did not suffer any financial struggles.”

   This was not an immature or unsophisticated defendant. Nor did the defendant act out of

   desperation. Instead, Carlos Polit deliberately calculated and chose to engage in the criminal

   conduct in the indictment over a lengthy period. Given his level of sophistication, he knew the

   seriousness of his actions and the significant consequences associated with them. Nothing in his

   history and characteristics suggests he should not face such significant consequences.

          B.      Need to Reflect the Seriousness of the Offense, to Promote Respect for the Law,
                  and to Provide Just Punishment for the Offense

          The Court should impose a significant sentence to reflect the seriousness of the offense.

   This case is distinct, and far more egregious, than the typical money laundering case involving

   foreign corruption. In most such cases, a government official receives a bribe or kickback for the

   award of a contract and launders that bribe into the United States. By contrast, the defendant

   abused the power of his position of trust and oversight to remove fines (as in the case of

   $100 million fine to Odebrecht) or to threaten to impose fines or recommend people for

   prosecution (as in the case of the Seguro Sucre contracts). The defendant sacrificed the Ecuadorian

   people’s interests for his own illicit enrichment.

          Moreover, after receiving the bribes, the defendant engaged in this complex scheme to

   launder funds into South Florida, primarily for the purchase of real estate. The defendant received

   at least $16.5 million in bribes and laundered at least $11 million into South Florida, primarily into

   real estate. Given the lengthy duration of the crime, the abuse of a position of public trust, and the

   substantial impact from his criminal activity, the Court should impose a significant sentence.

          C.      Need for Adequate Deterrence

          The Court should impose a significant sentence to deter other similarly situated foreign

   officials from using South Florida as a safe haven for corrupt proceeds. Cross-border money

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   laundering crimes, such as the defendant’s crime, are uniquely difficult for the United States to

   investigate and bring to trial.

           First, the government must prove the underlying bribery offense that occurred in the

   foreign country. This requires obtaining key documents from witnesses, typically outside of U.S.

   subpoena power, and figuring out ways to get them to travel into the country. The instant case is

   a prime example. The government facilitated bringing in six different witnesses from outside the

   United States to prove its case — three Brazilian and three Ecuadorian.

           Second, the government must trace the illicit funds transferred into the United States that

   have often traveled through multiple jurisdictions. This case alone required requests for assistance

   to Ecuador, Panama, Portugal, and Curacao simply to track the source of the illicit funds. Such

   requests often take years to see results, if results are obtained at all. Such investigative challenges

   are particularly magnified in a case such as this in which the defendant took deliberate steps to

   avoid detection. For example, the defendant insisted on receiving bribes from Odebrecht in cash,

   thereby making the laundering more difficult to detect. The defendant also caused wire transfer

   bribes from Odebrecht to be sent to accounts in other people’s names, further making the scheme

   more difficult to detect.

           Finally, the defendant recruited Ecuadorian businessmen, including Diego Sanchez, to

   open accounts with his son John Polit to conceal and hide the scheme so that bribery funds would

   be interspersed and layered with actual investments, further obfuscating his criminal proceeds.

           D.      Protect the Public from Further Crimes of the Defendant

           The defendant engaged in this crime to create illicit generational wealth for his family, and

   he had great success. The result of the defendant’s crime is that he obtained at least $16.5 million

   in bribes for him and his family, which was then laundered into South Florida. The bribery



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   spreadsheet maintained by the defendant’s son indicates funds used to purchase residences in

   South Florida for three of the defendant’s children. See GX 8-9A. The same bribery spreadsheet

   also shows over $40 million in investments in real estate, a tile business, a childcare business,

   loans, and restaurants. Id. A substantial sentence is necessary to deter others who may be planning

   similar crimes with the goal of obtaining illicit generational wealth for their family.

          Given the defendant no longer has a government position, the government acknowledges

   it is unlikely that the defendant will again engage in the criminal activity in the indictment.

   Nonetheless, it is relevant in the analysis that defendant has shown no remorse for his conduct nor

   provided any information concerning his financial assets.

          E.      Kinds of Sentences Available

          There can be no serious argument for any sentence other than a custodial one for the

   defendant, who abused his position of trust to obtain millions of dollars in bribes and laundered

   those funds in South Florida to create significant illicit generational wealth for himself and his

   family. The crimes were as brazen as they were sophisticated and calculated, and a jury convicted

   the defendant for his knowing and deliberate criminal actions.

          As set out in the PSI and in the government’s response to the defendant’s objections to the

   PSI, the Guidelines range for the defendant is 235 to 293 months’ imprisonment. To serve the

   legitimate purposes of sentencing, including promotion of respect for the law and general

   deterrence, the Court should sentence the defendant to a substantial term of imprisonment of

   235 months.

          F.      Any Pertinent Policy Statement Issues by the Sentencing Commission

          There are no policy statements in the Sentencing Guidelines that justify a substantial

   variance for the defendant. More specifically, the government considered the defendant’s age in


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   recommending a sentence at the low end of the Guidelines range. The defendant’s age does not

   warrant a below Guidelines sentence considering he was in his 60s when he committed the crimes

   of which he has been convicted. See United States v. Stuyvesant, 454 F.Supp.3d 1236, 1244 (S.D.

   Fla. 2020) (“The Court cannot agree that a defendant who is physically and mentally well enough

   to commit a serious federal crime is somehow not well enough to serve the sentence to which that

   crime inevitably exposes him.”). See also United States v. Irey, 612 F.3d 1160, 1206 (11th Cir.

   2010) (finding downward variance for age unreasonable, in part, because “rewarding [the

   defendant] for being older rewards him for evading detection and it is unreasonable to do that” and

   citing appellate court cases upholding twenty-year sentences, respectively, for a 73-year-old and

   87-year-old defendant involved in significant crimes).

          G.      Need to Avoid Unwarranted Sentence Disparities Among Defendants with
                  Similar Records Who Have Been Found Guilty of Similar Conduct

          The purpose of the Sentencing Guidelines is to ensure “reasonable uniformity in sentencing

   by narrowing the wide disparity in sentences imposed for similar offenses committed by similar

   offenders.” U.S.S.G. Ch. 1.3. A judge who “correctly calculate[s] and carefully review[s] the

   Guidelines range, [] necessarily g[i]ve[s] significant weight and consideration to the need to avoid

   unwarranted disparities.” Gall v. United States, 552 U.S. 38, 54 (2007). “[C]onsideration of the

   advisory guidelines range is important, because the guidelines ‘are an indispensable tool in helping

   courts achieve Congress’s mandate to consider the need to avoid unwarranted sentence disparities

   among similarly situated defendants.’” Irey, 612 F.3d at 1217 (quoting United States v. Hunt, 459

   F.3d 1180, 1184 (11th Cir. 2006)).

          The Eleventh Circuit has cautioned against sentences that leave the impression that

   “would-be white-collar criminals stand to lose little more than a portion of their ill-gotten gains

   and practically none of their liberty.” United States v. Martin, 455 F.3d 1227, 1240 (11th Cir.

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   2006). A Guidelines sentence will make clear to this defendant and to all other would-be white-

   collar criminals that the United States is not a safe haven for the spoils of their corruption.

             The defendant’s crimes offend basic notions of justice. His job was to root out and prevent

   corruption in a country where more than a quarter of its citizens lives in poverty. 1 Instead the

   defendant abused his position of trust and demanded and solicited more than $16 million in bribes,

   laundering that money in Miami to build illicit generational wealth for his family.

             Though this particular defendant is unlikely to commit such a crime again, the Eleventh

   Circuit has underscored that “the Congress that adopted the § 3553 sentencing factors emphasized

   the critical deterrent value of imprisoning serious white collar criminals, even where those

   criminals might themselves be unlikely to commit another offense.” Martin, 455 F.3d at 1240.

             Nor would a Guidelines sentence create unwarranted sentencing disparities between

   defendants convicted of similar conduct. For example, the following defendants in this district

   received sentences within, or very close, their respective Guidelines ranges:

           Case Caption          Guidelines Range              Sentence                  Trial or Plea
       United States v. Diaz   151 to 188 months          180 months             Trial
       Guillen, 18-CR-
       80160
       United States v.        151 to 188 months          180 months             Trial
       Velasquez Figueroa,
       18 -CR-80160
             Diaz was the Treasurer of Venezuela, and her husband Valesquez orchestrated the money

   laundering of her bribe payments. Judge Dimitrouleas found a loss amount of over $25 million

   and sentenced each to 180 months noting that a sentence toward the top of the Guidelines was




   1
      See World Bank “Poverty & Equity Brief, Latin America & the Caribbean, April 2023” at
   https://databankfiles.worldbank.org/public/ddpext_download/poverty/987B9C90-CB9F-4D93-AE8C-
   750588BF00QA/current/Global_POVEQ_ECU.pdf
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   appropriate, in part, because the defendants’ fraud “drastically changed their middle-class life to

   one of private jets, yachts, [and] world travel.”

             Other similarly situated defendants in this district have also received significant — though

   below Guidelines — sentences. For example, Esquenazi was the President of a company that

   bribed various Haitian government officials to obtain improper business advantages.                     By

   authorizing bribes to those officials, Esquenazi’s company fraudulently reduced money it owed to

   the Haitian government by $2.2 million. Judge Martinez sentenced Esquenazi to 180 months, a

   below Guidelines sentence, in part due to his finding that a 180-month sentence was sufficient to

   deter future criminal conduct.

           Case Caption          Guidelines Range               Sentence                   Trial or Plea
       United States v. Joel   292 to 365 months           180 months              Trial
       Esquenazi, 09-CR-
       21010

             A guideline sentence would also be consistent with the treatment of a similarly-situated

   defendant in Ecuador, Pablo Celi, former comptroller general of Ecuador following Carlos Polit

   from 2017 to 2020. The Ecuadorian government convicted Celi of organized crime for actions

   that included, like Polit, illegally removing fines issued by the comptroller’s office in exchange

   for bribe payments. Celi received a sentence of 13 years and 4 months reflecting the seriousness

   of the conduct.2

             Carlos Polit is more culpable than the defendants above in light of his unique position of

   public trust that he wantonly abused. A Guidelines sentence will not create sentencing disparity

   among similarly situated defendants.



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            Carlos Polit received a sentence of 6 years in Ecuador for his conviction on extortion charges in
   Ecuador (Article 264 of Ecuador’s Penal Code). According to Ecuadorian authorities, this sentence
   reflected the maximum punishment for that specific charge and the authorities were not able to supersede
   to bring more significant crime charges because Polit had fled Ecuador.
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   II.   CONCLUSION

         For the reasons set forth above, the government respectfully recommend that the Court

   impose a Guidelines sentence of 235 months of imprisonment for CARLOS RAMON POLIT

   FAGGIONI.




   DATED: September 3, 2024                        Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

           I certify that on September 3, 2024, I electronically filed this document with the Clerk of

    the Court using CM/ECF, causing a copy to be served on counsel of record.

                                                                __/s Jil Simon___________
                                                                Jil Simon
                                                                DOJ Trial Attorney




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